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                        IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF OREGON


CONSTANCE GEORGE,                                                   Case No. 3:15-cv-01277-SB

                      Plaintiff,                                                 JUDGMENT
       v.

HOUSE OF HOPE RECOVERY et al.,

                      Defendants.


BECKERMAN, Judge.

       This action came on for trial before a jury, Honorable Stacie F. Beckerman presiding, and

the issues having been tried and the jury having duly rendered its verdict, JUDGMENT IS HEREBY

ENTERED in favor of Defendants House of Hope Recovery and Patricia Barcroft and against

Plaintiff Constance George. This action is dismissed.
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       DATED this '2£1 day of April, 2018.


                                                    Stacie F. Be erman
                                                    United States Magistrate Judge




I -JUDGMENT
